            Case 3:13-cv-01547-SI     Document 30       Filed 02/04/15    Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



EDWARD HALL,                                        Case No. 3:13-cv-1547-SI

                Plaintiff,                          OPINION AND ORDER

       v.

CAROLYN W. COLVIN,
Commissioner of Social Security,

                Defendant.


Michael H. Simon, District Judge.

       On September 4, 2014, the Court reversed the decision of the Commissioner finding

Plaintiff not disabled and ordered the case remanded for an immediate award of benefits. On

November 20, 2014, the Court granted the parties’ stipulated motion for attorney’s fees pursuant

to the Equal Access to Justice Act (“EAJA”), 28 U.S.C. § 2412, in the amount of $2,684.24.

EAJA fees are subject to the Treasury Offset Program, and $1,467 of the awarded EAJA fees

was taken under that program, resulting in Plaintiff’s counsel receiving $1,217.24 in EAJA fees.

Plaintiff’s counsel also received a $6,000 agency fee award.




PAGE 1 – OPINION AND ORDER
          Case 3:13-cv-01547-SI         Document 30       Filed 02/04/15     Page 2 of 4




       Plaintiff’s counsel now moves for attorney’s fees of $3,368.27 pursuant to 42 U.S.C.

§ 406(b). Dkt. 27. Defendant does not object to this motion. Dkt. 29. The requested amount, plus

the $6,000 agency fee award already received, represents 25 percent of Plaintiff’s retroactive

benefits. Plaintiff’s counsel requests the full amount be paid to it and counsel will then refund

Plaintiff the $1,217.24 in EAJA fees previously received by Plaintiff’s counsel. Although

defendant does not object to the proposed award, the Court must perform an independent review

to ensure that the award is reasonable. Gisbrecht v. Barnhart, 535 U.S. 789, 807 (2002). For the

following reasons, plaintiff's counsel's motion for fees is granted.

                                          STANDARDS

       Under 42 U.S.C. § 406(b), a court entering judgment in favor of a social security

disability insurance claimant who was represented by an attorney “may determine and allow as

part of its judgment a reasonable fee for such representation, not in excess of 25 percent of the

total of the past-due benefits to which the claimant is entitled by reason of such judgment.”

Crawford v. Astrue, 586 F.3d 1142, 1147 (9th Cir. 2009). Counsel requesting the fee bears the

burden to establish the reasonableness of the requested fee. Gisbrecht, 535 U.S. at 807. The

attorney’s fee award is paid by the claimant out of the past-due benefits awarded; the losing party

is not responsible for payment. Gisbrecht, 535 U.S. at 802.

       A court reviewing a request for attorney’s fees under § 406(b) “must respect ‘the primacy

of lawful attorney-client fee agreements,’ ‘looking first to the contingent-fee agreement, then

testing it for reasonableness.’” Crawford, 586 F.3d at 1148 (quoting Gisbrecht, 535 U.S. at 793,

808). Routine approval of fees pursuant to a contingency fee agreement calling for the statutory

maximum is, however, disfavored. See Fintics v. Colvin, 2013 WL 5524691, at *2 (D. Or. Oct. 2,

2013). Contingent fee agreements that fail to “yield reasonable results in particular cases” may

be rejected. Gisbrecht, 535 U.S. at 807. There is no definitive list of factors for determining the
PAGE 2 – OPINION AND ORDER
          Case 3:13-cv-01547-SI         Document 30       Filed 02/04/15     Page 3 of 4




reasonableness of the requested attorney’s fees, but courts may consider the character of the

representation, the results achieved, whether there was delay attributable to the attorney seeking

the fee, and whether the fee is in proportion to the time spent on the case (to avoid a windfall to

attorneys). See id. at 808; Crawford, 586 F.3d at 1151-52. Although the Supreme Court has

instructed against using the lodestar method to calculate fees, a court may “consider the lodestar

calculation, but only as an aid in assessing the reasonableness of the fee.” Crawford, 586 F.3d

at 1148 (emphasis in original); see also Gisbrecht, 535 U.S. at 808 (noting that courts may

consider counsel’s record of hours spent representing claimant and counsel’s normal hourly

billing rate for non-contingency work as an aid in considering reasonableness of requested fees).

                                          DISCUSSION

       As prescribed by Gisbrecht and Crawford, the Court begins its analysis by reviewing the

contingency fee agreement executed by Plaintiff and his counsel. Dkt. 27-2. Plaintiff agreed to

pay attorney’s fees not to exceed 25 percent of the back benefits awarded. Here, Plaintiff was

awarded approximately $37,473.07 in back benefits, so the requested fee award resulting in fees

of approximately 25 percent is within the statutory maximum.

       The Court next considers the appropriate factors to determine whether a downward

adjustment is necessary in this case, and finds that no downward adjustment is warranted.

Plaintiff’s counsel achieved excellent results for Plaintiff (a remand for an immediate award of

benefits), the representation of Plaintiff was professional, there was no delay attributable to

Plaintiff’s counsel, and the fee was in proportion to the time spent on the case and would not

result in a windfall to Plaintiff’s counsel. Plaintiff’s counsel spent approximately 14.3 hours on

the case. The effective hourly rate for the total fee award ($9,368.27) is, therefore, approximately

$655.12, which is below effective hourly rates that have been approved in this district. See, e.g.,

Quinnin v. Comm’r, 2013 WL 5786988, at *4 (D. Or. Oct. 28, 2013) (approving de facto hourly
PAGE 3 – OPINION AND ORDER
          Case 3:13-cv-01547-SI         Document 30       Filed 02/04/15     Page 4 of 4




rate of $1,240 for attorney time); Ali v. Comm’r, 2013 WL 3819867 (D. Or. July 21, 2013)

(approving de facto hourly rate of $1,000); Breedlove v. Comm’r, 2011 WL 2531174 (D. Or.

June 24, 2011) (approving de facto hourly rate of $1,041.84).

                                         CONCLUSION

       Plaintiff’s counsel’s motion for attorney fees pursuant to 42 U.S.C. § 406(b) (Dkt. 27) is

GRANTED. Plaintiff’s counsel is entitled to total fees of $9,368.27, representing 25 percent of

Plaintiff’s retroactive benefits recovery. Subtracting the agency fee award of $6,000 already

received by Plaintiff’s counsel, Plaintiff’s counsel is entitled to $3,368.27 in § 406(b) fees. The

Commissioner is directed to issue Plaintiff's attorney a section 406(b) check in the amount of

$3,368.27, less any applicable administrative assessment as allowed by statute. Upon receipt of

the 406(b) check, Plaintiff’s counsel shall refund to Plaintiff the $1,217.24 previously received

by Plaintiff’s counsel under the EAJA.

       IT IS SO ORDERED.

       DATED this 4th day of February, 2015.

                                                      /s/ Michael H. Simon
                                                      Michael H. Simon
                                                      United States District Judge




PAGE 4 – OPINION AND ORDER
